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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 UNITED STATES OF AMERICA                    Case No. 2:10-cv-13440
 and STATE OF MICHIGAN,                      Hon. Stephen J. Murphy, III
                                             Magistrate Judge R. Steven Whalen
       Plaintiffs,

 ex rel. DAVID FELTEN, M.D., Ph.D.,

       Plaintiff/Relator,

 v.

 WILLIAM BEAUMONT HOSPITALS,

       Defendant.

                              JOINT DISCOVERY PLAN

       Plaintiff David Felten, M.D., Ph.D. (Felten) and William Beaumont Hospital

 (sued as William Beaumont Hospitals) (Beaumont), through counsel, submit the

 following Joint Discovery Plan pursuant to this Court’s January 26, 2022 Order

 and Federal Rule of Civil Procedure 16.



       1.     Jurisdiction. Felten asserts that this Court has jurisdiction pursuant to

 the federal False Claims Act, 31 USC § 3729 et seq. Beaumont does not object to

 this Court’s jurisdiction.

       2.     Jury Trial: This case is to be tried to a jury.
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          3.    Statement of the Case.

                A.    Felten’s Statement of the Case: Felten alleges that his former

 employer, Beaumont, violated the Anti-Kickback Statute and federal and state

 False Claims Acts and that, in retribution for his objecting to and reporting the

 fraudulent schemes, he suffered retaliation, including marginalization, decreased

 budget with the same or additional work load, forced retirement/constructive

 discharge, and blacklisting, which has damaged him in an amount to be proven at

 trial.

                B.    Beaumont’s Statement of the Case: Felten claims Beaumont

 retaliated against him because Felten referred the now settled qui tam case to

 federal authorities. Felten’s last day working at Beaumont was in December 2013

 and his last day as an employee was in December 2014. His claims fall into two

 temporal categories: alleged retaliation before and after August 27, 2015. This is

 the only pre-August 2015 claim that survived Beaumont’s earlier motion to

 dismiss: “prior to Felten filing his original complaint in 2010, Beaumont

 [allegedly] cut the Research Institute’s budget in half while still expecting Felten to

 accomplish the same goals.” (ECF No. 184, PageID.4461; see also, ECF 159).

 “Felten’s other alleged conduct before August 27, 2015 is TIME-BARRED.” (ECF

 No. 184, PageID.4461).

          This Court is very familiar with Felten’s post-August 27, 2015 claims.


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       At bottom, Beaumont denies Felten’s allegations.

       4.     Pendant State Claims: This case includes a pendant state claim for

 alleged retaliation under the Michigan Medicaid False Claims Act, M.C.L.

 §400.610c (ECF No. 97, PageID. 1264-1265). Subject to its objection to Felten

 litigating claims this Court previously determined were time barred (ECF No. 159),

 Beaumont does not object to this Court retaining jurisdiction over Felten’s pendant

 state claim under M.C.L. §400.610c.

       5.     Joinder of Parties and Amendment of Pleadings. The parties do not

 expect to file any motions for joinder or to amend their pleadings.

       6.     Disclosure and Exchanges. The parties are unable to agree on a

 specific additional voluntary production but agree to exchange the information

 required in Federal Rule of Civil Procedure 26(a).

       7.     Discovery. The parties acknowledge that if the Court believes that

 discovery motions have been filed unnecessarily, in bad faith, or for vexatious or

 tactical reasons, the Court may appoint a Discovery Master to shift the costs of

 disposing of the motions from the Court to the parties.

              The parties recommend the following discovery plan:

              Discovery Begins:               February 11, 2022
              Initial Disclosures Due:        Previously exchanged
              Witness List Disclosures Due:   May 31, 2022
              Expert Disclosures Due:         July 15, 2022
              Discovery Ends:                 August 31, 2022
              Dispositive Motions Due:        September 30, 2022

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       8.     Disclosures/Discovery of Electronically Stored Information: The

 parties have discussed the fact that the age of the case/allegations means that

 legacy systems for ESI, if any, may be implicated and accordingly, there is likely a

 need for early conferencing as to ESI. The parties have agreed to exchange their

 initial written discovery and then confer further, with the intention of creating a

 joint plan for ESI review and production. Beaumont reserves its rights to seek a

 protective order limiting the scope of ESI discovery or to impose cost sharing or

 shifting, and Felten reserves all objections to the same. Either party will seek this

 Court’s assistance if the parties reach an impasse during those discussions.

       9.     Assertion of Claims of Privilege or Work—Product Immunity

 After Productions. Felten and Beaumont will comply with Federal Rule of

 Evidence 502(b) if either inadvertently produces privileged or work-product

 materials in this matter.

       10.    Motions The parties acknowledge that E.D. Mich. LR 7.1 requires a

 moving party to ascertain whether any motion will be opposed. All motions shall

 affirmatively state the efforts of the moving party to comply with the obligation

 created by Rule 7.1. All nondispositive motions shall be accompanied by a

 certificate setting forth in detail the efforts of the moving party to comply with the

 obligations created by Rule 7.1. All discovery motions shall be accompanied by a



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 certificate and any relevant documentary or correspondence detailing the movant’s

 attempt to seek resolution of the discovery dispute before filing the motion.

       The following dispositive motions are contemplated by each party:

              A.     Felten: At this time, Felten does not contemplate filing any

 dispositive motions; however, he may revisit that decision after discovery as to a

 motion for summary judgment or partial summary judgment.

              B.     Beaumont: Beaumont anticipates filing a motion for summary

 judgment on the merits of Felten’s retaliation claims.

       11.    Alternative Dispute Resolution: The parties acknowledge that the

 Court reserves the right under Local Rule 16 to order alternative dispute resolution

 and recommend that this case be submitted to the following methods of alternative

 dispute resolution: facilitative mediation (E.D. Mich. LR 16.4), case evaluation

 (E.D. Mich. LR 16.5 and MCR 2.403), settlement conferences (E.D. Mich. LR

 16.6), and other procedures (E.D. Mich. LR 16.7).

              A.     Felten’s Position: Felten continues to be open to alternative

 dispute resolution, but agrees that if Beaumont feels ADR is premature, then such

 is unlikely to be productive. As of this time, Felten is open to discussion of ADR to

 follow discovery.

              B.     Beaumont’s Position: Alternative dispute resolution, such as

 facilitated mediation, is premature. But if this Court were to require some form of


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 ADR after the close of discovery, then Beaumont respectfully suggests that it

 would be appropriate to submit this matter to combined facilitation and case

 evaluation with Magistrate Judge R. Steven Whalen. Magistrate Judge Whalen

 could initially meet with the parties for facilitated mediation under E.D. Mich. LR

 16.4, and absent reaching settlement, issue a case evaluation award subject to E.D.

 Mich. LR 16.5 and MCR 2.403.

 `     12.   Length of Trial: Counsel estimate the jury trial will last

 approximately 10 days total, lasting from 8:30 a.m. to 2:00 p.m. each day,

 allocated as follows: (i) six days for jury selection, opening statements, and

 Felten’s case; and (ii) four days for Beaumont’s case and closing arguments.

       13.   Electronic Document Filing Systems. Counsel acknowledge that

 Local Rule 5.1 requires that attorneys file and serve all documents electronically,

 by means of the Court’s CM/ECF system, unless the party has been excused from

 electronic filing on a motion for good cause shown. The Court expects all counsel

 to abide by the requirements of this rule. Pro se parties (litigants representing

 themselves without the assistance of a lawyer) acknowledge that they must submit

 their documents to the Clerk on paper in a form complying with the requirements

 of the local rules. Counsel opposing a pro se party acknowledges that they must

 file documents electronically but serve pro se parties with paper documents in the

 traditional manner.


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       15.    Other: The parties discussed the format for party and non-party

 depositions. They have agreed to conduct party depositions in person and to

 reserve the option of scheduling non-party depositions using a remote service, such

 as Teams or Zoom. Each party, however, reserves the option of conducting third-

 party depositions in person.

 Date: February 4, 2022

 Respectfully submitted,

 /s/ Julie K. Bracker                         /s/ Michael R. Turco
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